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                            IN THE UN ITED STATES DISTRICT COU RT
                                SOUTHERN DISTR ICT OF FLORIDA
                                    FORT PIERCE DIVISION

                                  CivilA ction N o.:2:17-cv-14281-JEM

    JOD Y GUD GER AN D RHON DA K IN G,
    on behalf of them selves and those
    sim ilarly situated,

           Plaintiffs,                                                   FILEDùy         - D.c,

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    CENTEN E M A NA GEM EN T COM PAN Y ,                                    s'
                                                                             revcqM LARIMGRE
    LLC, a Foreign Lim ited Liability                                        CLERKtlb.DI
                                                                                       sIcî
                                                                           s.n.oFFL/.-n:plcqcE
    Company, and SUN SH INE STATE
    HEA LTH PLAN , IN C ., Florida Profit
    Corporation.

           Defendants.


     STIPULATED PROTECTIVE ORDER AND FRE 502œ )CLAW BACK AGREEM ENT

           PU RPO SES AN D LIM ITA TION S
           D iscovery in this action is likely to involve production of cpnfidential,proprietary,or
    private inform ation for w hich special protection m ay be warranted.A ccordingly, the parties
    hereby stipulate to and petition the courtto enterthe follow ing Stipulated Protective Order and

    Clawback Agreement(the (çOrder'').Itdoesnotconferblanketprotection on a11disclosuresor
    responses to discovery,the protection it affords from public disclosure and use extends only to
    the lim ited inform ation or item s thatare entitled to confidentialtreatm ent under the applicable
    legalprinciples, and it does not presum ptively entitle parties to file confidential inform ation
    underseal.
    2.     (ICONFIDENTIA L''M A TERIA L

           Ssconfidential''materialshallmean information (regardlessofhow generated,stored or
    maintained)thathas notbeen madepublic oris nototherwise available oraccessible in the
    public dom ain and thatconcem s orrelates to the confidentialorproprietary inform ation ofeither
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    party or any third parties. Further,Confidentialm aterialis inform ation for which disclosure is
    likely to have the effectof causing hal'
                                           m to either party,orperson from whom the inform ation
    was obtained,or to the parties' or third-parties' privacy. Contidential m aterialalso includes
    private inform ation pertaining to D efendants'em ployees,forwhich the parties orany third pal'
                                                                                                  ty

    haveadutytomaintainconfidentiality. Consdentialmaterialincludesbutisnotlimitedto:(a)
    Sensitive personalidentifying inform ation,including personal identiiers, individuals'sensitive
    em ploym entrecords,and docum entswhich areprotected by the H ea1th Insurance Portability and
    Accountability Act;(b)Defendants'non-public financial,accounting,commercial,proprietary
    data orapplications,orotherproprietary ortrade secretinformation;(c)Non-publicfinancial,
    accounting, comm ercial, proprietary data or applications, or other private or confidential

    informationofanycurrentorformercustolnerorbusinesspartnerofDefendants'
                                                                         ,(d)Businessor
    marketingplansofDefendants;(e)lnformation overwhichthedesignatingparty isobligatedto
    maintain confidentiality by contractorothelwise;and (9 lnformation expressly designated as,
    and reasonably believed by thedesignating party to be,confidentialin nature.
           SCOPE

           The protections conferred by this agreementcovernotonly Contsdentialmaterial(as
    definedabove),butalso(1)any information copiedorextractedfrom Confidentialmaterial;(2)
    a11copies,excemts,summaries,orcompilationsofConfidentialmaterial;and (3)anytestimony,
    conversations, or presentations by parties or their counsel that m ight reveal Confidential
    m aterial.
           H ow ever,the protections conferred by this agreem entdo notcoverinform ation thatis in
    thepublic dom ain orbecom espartofthe public dom ain through trialorotherwise.
           A CCESS TO AN D U SE OF CON FID EN TIAL M ATERIAL
                  BasicPrinciples.A receiving party m ay use Confidentialm aterialthatisdisclosed
    orproduced by anotherpal'ty orby a non-party in connection w ith thiscase only forprosecuting,
    defending,or attem pting to settle this litigation.Confidentialm aterialm ay be disclosed only to
    the categories of persons and under the conditions described in this agreem ent'
                                                                                   . Confidential


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    materialm ustbe stored and m aintained by a receiving party ata location and in a secure m anner
    thatensuresthataccess is lim ited to the persons authorized underthisagreem ent.
           4.2     Disclosure of SSCON FID EN TIAL'' Inform ation or Item s. Unless otherw ise
    ordered by the courtor perm itted in writing by the designating paty, a receiving party m ay
    disclose any Confidentialm aterialonly to:

                   (a)    thereceivingparty'scounselofrecordinthisaction,aswellasemployees
    ofcounselto whom itis reasonably necessary to disclosethe inform ation forthis litigation;
                   (b)    theofficers,directors,andemployees(including in housecounsel)ofthe
    receiving party to whom disclosure is reasonably necessary for this litigation,unlessthe parties
    agree that a particular docum ent or m aterialproduced is for Attorney's Eyes Only and is so
    designated;

                   (c)      expertsand consultantsto whom disclosure isreasonably necessary for
    thislitigationandwhohavesignedthettAcknowledgmentandAgreementtoBeBound''(Exhibit
    A);
                   (d)    thecourt,coul'
                                       tpersonnel,andcourtreportersandtheirstaff;
                   (e)    copyorimagingservicesretainedbycounseltoassistintheduplicationof
    Confidentialm aterial,provided that counselfor the party retaining the copy or im aging selwice
    instructs the service notto disclose any Confidentialm aterialto third parties and to im m ediately
    return a11originalsand copiesofany Confidentialm aterial;

                   (9     during theirdepositions,witnesses in the action to whom disclosure is
    reasonably necessary and who have signed the CsA cknow ledgm entand A greem entto Be Bound''

    (ExhibitA),unlessotherwiseagreed bythedesignatingparty ororderedby thecourt.Pagesof
    transcribed deposition testim ony orexhibitsto depositionsthatrevealConfidentialm aterialm ust
    be separately bound by the courtreporterand m ay notbe disclosed to anyone exceptasperm itted
    underthis agreem ent;

                  (g)     the author orrecipientofa documentcontaining the information ora
    custodian orotherperson w ho otherw ise possessed orknew the information;and

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                          m ediators engaged by theparties.
           4.3     Filinz ConfidentialM aterial.Before filing Confidentialm aterialor discussing or
    referencing such m aterialin courtGlings,the filing party shallconferw ith the designating party
    to determ inew hetherthe designating pal'ty willrem ove the confidentialdesignation,whetherthe
    docum ent can be redacted,or whether a m otion to seal or stipulation and proposed order is
    warranted.
           DESIGN ATIN G PR OTECTED M ATERIA L
                  Exercise ofRestraintand Care in D esianatinR M aterialfor Protection.Each party
    or non-pal'ty thatdesignates inform ation or item s forprotection under this agreem entm usttake
    care to lim it any such designation to specific m aterial that qualifies under the appropriate
    standards. The designating pal'
                                  ty m ust designate for protection only those parts of m aterial,
    docum ents,item s,or oralor written comm unications thatqualify,so that other portions of the
    m aterial,docum ents,item s, or com m unications for w hich protection is not w arranted are not

    sweptunjustifiablywithintheambitofthisagreement.
           M ass, indiscrim inate, or routinized designations are prohibited. Designations that are
    shown to be clearly unjustified orthathave been made for an improper purpose (e.g.,to
    unnecessarily encum ber or delay the case developm ent process or to im pose unnecessary

    expensesandburdensonotherparties)exposethedesignatingpartytosanctions.
           lf it com es to a designating party's attention that inform ation or item s thatit designated
    forprotection do notqualify forprotection,the designating pal'
                                                                 ty m ustprom ptly notify allother
    partiesthatitisw ithdraw ing the m istaken designation.
                  M anner and Tim ing of Desianations. Except as otherw ise provided in this

    agreement(see,e.g.,second paragraph ofsection 5.2(a)below),orasotherwise stipulated or
    ordured,disclosure ordiscovery m aterialthat qualifies for protection underthis agreem entm ust
    be clearly so designated before orwhen the m aterialis disclosed orproduced.

                          Information in documentarv folnn:@.g.,paper or electronic documents
    and deposition exhibits, but excluding transcripts of depositions or other pretrial or trial


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    Proceedings),thedesignating pal'
                                   ty mustaffix theword SSCONFID/NTIAL''toeach page that
    contains Confidentialm aterial.lf only a pol-tion orportions of the m aterialon a page qualifies

    forprotection,theproducing party also mustclearly identify theprotected portionts)(e.g.,by
    makingappropriatemarkingsinthemargins).
                  (b)     Testimonvciven in depositionorinotherpretrialproceedincs:thepartie:
    and any participating non-parties m ust identify on the record,during the deposition or other

    pretrialproceeding,a1lprotectedtestimony,withoutprejudicetotheirrighttosodesignateother
    testimony afterreviewing the transcript.Any pal'ty ornon-pal'ty may,within fifteen (15)days
    afterreceiving the transcriptofthe deposition orotherpretrialproceeding,designate portionsof
    the transcript, or exhibits thereto, as confdential. lf a party or non-party desires to protect
    confidentialinform ation attrial,the issue should be addressed during the pre-trialconference.
                          Othertanzible item s:the producing party m ustaffix in a prom inentplace
    on the exterior ofthe containerorcontainers in w hich the inform ation oritem is stored the word
    SCCON FID EN TIA L.''lf only a portion orportions ofthe inform ation or item w an-antprotection,

    theproducingparty,totheextentpracticable,shallidentifytheprotectedpol-tionts).
                  lnadvertent Faiiures to D esicnate.lf tim ely corrected, an inadvertent failure to
    designate qualified inform ation oritem s does not,standing alone,w aive the designating party's
    right to secure protection under this agreem ent for such m aterial.Upon tim ely correction of a
    designation, the receiving party m ust m ake reasonable efforts to ensure that the m aterial is
    treated in accordance w ith theprovisionsofthisagreem ent.
           CH ALLEN Gm G CON FIDEN TIALITY D ESIGN ATION S
                  Tim ine of Challenges.A ny pal'
                                                ty or non-party m ay challenge a designation of
                                    Q
    confidentiality at any tim e.U nless a prom pt challenge to a designating palty's confidentiality
    designation is necessary to avoid foreseeable, substantial unfairness, unnecessary econom ic
    burdens,ora significantdisruption ordelay ofthe litigation,a party does not waive its rightto
    challenge a confidentiality designation by electing notto m ounta challenge prom ptly afler the
    originaldesignation is disclosed.


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           6.2     M eet and Confer.The parties m ust m ake every attem pt to resolve any dispute
    regarding confidential designations w ithout court involvem ent. Any m otion regarding
    confidentialdesignationsorfora protective orderm ustinclude a certification,in the m otion orin
    a declaration or affidavit, that the m ovant has engaged in a good faith m eet and confer
    conferencew ith otheraffected partiesin an effortto resolvethe dispute w ithoutcourtaction.The
    certification m ust listthe date,m anner,and participants to the conference.A good faith effortto
    conferrequires aface-to-face m eeting oratelephone conference.
           6.3     JudicialIntervention.A challenging party that elects to press a challenge to the

    confidentiality designation afterconsidering thejustification offered by the designating pal'ty
    may,within fourteen (14)daysafterthemeetand conferprocessends,movethe Courtforan
    Orderdeterm ining whetherthe item hasbeen properly designated as confidential,identifying the
    challenged m aterialand setting fol'th in detailthebasisforthe challenge. Each such m otion m ust

    beaccompanied byacompetentdeclarationthataffirmsthat(a)themovanthascompliedwith
    themeetandconferrequirementsimposedintheprecedingparagraph;(b)thematerialhasbeen
    maintained as ïdconfidential''while the dispute is being resolved;and (c) sets fol'th with
    specificitythejustificationfortheconfidentiality designationthatwasgiven bythedesignating
    party during the m eetand conferprocess.
           The burden of persuasion in any such challenge proceeding shall be on the designating
    party. Untilthe Courtrules on the challenge,a11parties shallcontinue to afford the m aterialin
    question the levelofprotection to which itisentitled undertheproducing party'sdesignation.
           PR OTECTED G TEM A L SU BPOEN AED OR ORD ERED PRODU CED Eq OTH ER
    LITIGATION
           lfa pal'ty is served w ith a subpoena ora courtorderissued in other litigation thatcom pels
    disclosure of any inform ation or item s designated in this action as SSCON FID EN TIAL,''that
    party m ust:
                          promptly notify the designating party in w riting and include a copy of the
    subpoena orcourtorder;


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                  (b)     promptlynotify inwritingthepartywhocausedthesubpoenaororderto
    issue in the other litigation that som e or allofthe m aterialcovered by the subpoena ororder is

    subjecttothisagreement.Suchnotificationshallincludeacopyofthisagreement;and
                          cooperate w ith respectto a1lreasonable procedures soughtto be pursued
    by the designating pal'
                          ty w hose Confidentialm aterialm ay be affected.
    8.     UNA UTH ORIZED D ISCLOSURE OF PROTECTED M ATERIAL
           Any person in possession ofanother party's Confidentialinfonuation shall m aintain a
    written inform ation security program that includes reasonable adm inistrative, technical,
    and physical safeguards designed to protect the security and confidentiality of such
    Confidentialinform ation,protect against any reasonably anticipated threats or hazards to the
    security of such Confidential inform ation,and protect against unauthorized access to or use
    of such Confidentialinfonnation. To the extent a person orparty does nothave an inform ation
    security program they m ay comply w ith this provision by having the Confidential information
    m anaged by and/or stored with eD iscovery vendors orclaim s adm inistrators thatm aintain such
    an inform ation security program .
           lfa receiving party learnsthat,by inadvertence or otherw ise,ithasdisclosed confidential
    m aterialto any person orin any circum stance notauthorized underthis agreem ent,the receiving

    party must immediately (a) notify in writing the designating party of the unauthorized
    disclosures,(b)use itsbesteffortsto retrieveallunauthorizedcopiesoftheprotected material,
    (c)inform theperson orpersonstowhom unauthorized disclosuresweremadeofa1lthetermsof
    thisagreement,and (d)requestthatsuch person orpersonsexecutethe(Wcknowledgmentand
    A greem entto Be Bound''thatis attached hereto asExhibitA .
           If the receiving party discovers a breach of security,'
                                                                 including any actualor suspected
    unauthorized access,relating to another party's Confidential inform ation,the receiving pal'
                                                                                               ty

    shall:(a)promptlyprovidewrittennoticetothedesignatingpartyofsuchbreach;(b)investigate
    and take reasonable efforts to rem ediate the effects ofthe breach,and provide the designating
    party w ith assurances reasonably satisfactory to the designating party that such breach shallnot
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    recur'
         , and (c) provide sufficient information about the breach that the designating
    Party can reasonablyascertain thesizeand scope ofthebreach.Ifrequiredbyanyjudicialor
    governm entalrequest, requirem ent,or order to disclose such inform ation, the receiving party
    shall take al1 reasonable steps to give the designating party sufficient prior notice in order to
    contestsuch request,requirem ent,ororderthrough legalm eans. The receiving party agrees to
    cooperate with the designating party or law enforcem ent in investigating any such security
    incident. In any event,the receiving party shallpromptly take a11 necessary and appropriate
    corrective action to term inate the unauthorized access.
           INA DVERTEN T PROD UCTION OF PRIV ILEGED OR OTHERW ISE PROTECTED
    M ATERIAL
           W hen a producing party gives notice to receiving parties that certain inadvel-tently

    produced materialissubjectto aclaim ofprivilege orotherprotection,theobligationsofthe
    receiving parties are those set forth in FederalRule of CivilProcedure 26(b)(5)(B).This
    provision is not intended to m odify whatever procedure m ay be established in an e-discovery
    orderoragreem entthatprovidesfor production w ithoutpriorprivilege review .The parties agree

    to theentry ofanon-waiverorderunderFed.R.Evid.502(d)assetforth herein. Thepadies
    agree to protection of privileged and otherw ise protected docum ents against claim s of w aiver

    (includingasagainstthirdpartiesandinotherfederalandstateproceedings)asfollows:
                          Thedisclosureorproductionofdocumentsbyaproducingpartysubjectto
    a legally recognized claim ofprivilege,including w ithoutlim itation the atorney-clientprivilege
    and the work-productdoctrine,to a receiving party,shallin no way constitute the voluntary
    disclosure ofsuch docum ent.
                          The inadvertentdisclosure orproduction ofany docum entin thisaction
    shallnotresultin the w aiverofany privilege,evidentiary protection,orotherprotection
    associated w ith such docum entasto the receiving party orany third parties,and shallnotresult

    inanywaiver,includingsubjectmatterwaiver,ofanykind.



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                          1f,during the course ofthis litigation,a party determ inesthatany

    documentproducedbyanotherpartyisormayreasonablybesubjecttoalegallyrecognizable
    privilegeorevidentiaryprotection(stprotected Documenf'):
                          (i)     thereceivingpartyshall:(A)refrainfrom readingtheProtected
    Docum entany m ore closely than isnecessary to ascertain thatitisprivileged orotherw ise

    protectedfrom disclosure;(B)immediatelynotifytheproducingpal'tyinwritingthatithas
    discovereddocumentsbelievedtobeprivilegedorprotected;(C)specificallyidentifythe
    ProtectedDocumentsbyBatesnumberrangeorhashvalue;and,(D)withinten(10)daysof
    discovery by the receiving party,,
                                     return,sequester,ordestroy al1copiesofsuch Protected
    D ocum ents,along w ith any notes,abstracts,orcom pilationsofthe contentthereof. To the extent
    thataProtected Docum enthas been loaded into a litigation review databaseunderthe controlof
    thereceiving party,the receiving party shallhave a1lelectronic copiesofthe Protected
    D ocum entextracted from the database. W here such Protected Docum ents cannotbe destroyed
    orseparated,they shallnotbe review ed,disclosed,orotherw iseused by the receiving
    party. N otwithstanding,the receiving party isunderno obligation to search orreview the
    producing party'sdocum entsto identify potentially privileged orw ork productProtected
    Docum ents.

                          (ii)    Iftheproducingpartyintendstoassertaclaim ofprivilegeorother
    protection overdocum ents identified by the receiving pal'ty asProtected Docum ents,the

    producingpartywill,withinten(10)daysofreceivingthereceivingparty'swrittennotification
    described above,inform the receiving party ofsuch intention in writing and shallprovide the
    receiving party w ith a 1og forsuch Protécted Docum entsthatisconsistentw ith the requirem ents
    ofthe FederalRules ofCivilProcedure,setting forth the basisfortheclaim ofprivilege orother
    protection. In the eventthatany portion ofa Protected D ocum entdoesnotcontain privileged or
    protected inform ation,the producing party shallalso provide to the receiving party a redacted

    copyofthedocumentthatomitstheinformationthattheproducingpal'
                                                               tybelievesissubjecttoa
    claim ofprivilege orotherprotection.
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                   (d)      1f,duringthecourseofthislitigation,apal'
                                                                   tydeterminesithasproduceda
    Protected D ocum ent:

                            (i)    the producing party m ay notify thereceiving party ofsuch
     inadvertentproduction in writing,and dem and the return ofsuch docum ents. Such notice shall
    be in writing;however,itm ay be delivered orally on the record ata deposition,prom ptly

    followedupinwriting.Theproducingparty'swrittennoticewillidentifytheProtected
    D ocum entinadvertently produced by Batesnum berrange orhash value,theprivilege or
    protection claim ed,and the basisforthe assertion ofthe privilege and shallprovidethe receiving
    party with a log forsuch Protected Docum entsthatis consistentwith the requirem ents ofthe
    FederalRulesofCivilProcedure,setting fol4h the basisforthe claim ofprivilege orother
    protection. In the eventthatany portion ofthe Protected Docum entdoesnotcontain privileged
    orprotected inform ation,the producing pal'ty shallalso provide to the receiving pal'ty a redacted

    copyofthedocumentthatomitstheinformationthattheproducingpartybelievesissubjecttoa
    claim ofprivilege orotherprotection.

                            (ii)   Thereceivingpartymust,withinten(10)daysofreceivingthe
    producing party'swritten notification described above,return,sequester,ordestroy the Protected
    D ocumentand any copies,along w ith any notes,abstracts,orcom pilations ofthe content
    thereof. To the extentthata Protected Docum enthasbeen loaded into a litigation review
     database underthe controlofthe receiving party,the receiving party shallhave al1electronic
     copiesoftheProtected D ocum entextracted from the database.
                            To the extentthatthe inform ation contained in a Protected Docum enthas
     already been used in ordescribed in otherdocum ents generated orm aintained by the receiving
     pal'ty priorto thedate ofreceiptofw ritten notice by theproducing pady as setfol'th in

    paragraphs(c)(ii)andd(i),thenthereceivingpartyshallsequestersuchdocumentsuntilthe
     claim has been resolved. Ifthe receiving party disclosed theProtected Docum entbefore being
     notified ofits inadvertentproduction,itm usttake reasonable stepsto retrieve it.




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                           The receiving party'sreturn,sequestering,ordestruction ofProtected
     Documentsasprovided herein w illnotactasa waiverofthe requesting party'srightto m ove for
     theproduction ofthe returned,sequestered,ordestroyed docum ents on the groundsthatthe

     documentsarenot,infact,subjecttoaviableclaim ofprivilegeorprotection.However,the
     receiving party isprohibited and estopped from arguing that:
                                  the disclosure orproduction ofthe Protected D ocum ents actsas a
    w aiverofan applicableprivilege orevidentiary protection;

                           (ii)   thedisclosureoftheProtectedDocumentswasnotinadvertent;
                                  theproducing party did nottakereasonable stepsto preventthe
     disclosure ofthe Protected D ocum ents'
                                           ,or
                                  the producing pal-ty failed to take reasonable ortim ely stepsto

    rectifytheerrorpursuanttoFederalRuleofCivilProcedure26(b)(5)(B),orotherwise.
                     (g)   Eitherpal'tymaysubmitProtectedDocumentstotheCourtundersealfora
     determ ination ofthe claim ofprivilegeorotherprotection. The producing party shallpresel've
    theProtected D ocum entsuntilsuch claim isresolved. The receiving party m ay notuse the
    Protected D ocum ents forany purpose absentthis Court'sorder.
                           U pon a detenuination by the Courtthatthe Protected D ocum entsare
    protected by the applicableprivilege orevidentiary protection,and iftheProtected D ocum ents

     havebeensequesteredratherthanretulmedordestroyedbythereceivingparty,andsubjecttothe
     exceptionsoutlined in Paragraph 10 below ,the Protected Docum ents shallbe rem rned or

     destroyedwithinten(10)daysoftheCourt'sorder.TheCourtmayalsoordertheidentification
     by the receiving pal4y ofProtected D ocum ents by search term sorotherm eans.
                           N othing contained herein is intended to,orshallserve to lim ita party's
     righttoconductareview ofdocuments,data(includingelectronicallystoredinformation),and
     other inform ation,including w ithoutlim itation,m etadata,forrelevance,responsiveness,and/or
     the segregation ofprivileged and/orprotected inform ation before such inform ation isproduced to
     anotherparty.
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                  ()      Byoperationofthepaties'agreement,thepartiesarespecifically
    affordedtheprotectionsofFed.R.Evid.502(d)and(e).
     10.   N ON TERM IN ATION AND RETURN OF DO CUM EN TS

                  W ithin sixty (60)daysafterthetermination ofthisaction,including a1lappeals,
    each receiving party m ust return a1lConfidentialm aterialto the producing party,including a11
    copies,extracts and sulum aries thereof.A lternatively,the parties m ay agree upon appropriate
    m ethodsofdestruction.
                  If Confidential m aterial or Protected Docum ents have been loaded into any
    litigation review database, the attorney for the party using such database shall have the
    responsibility of ensuring that a1lsuch Confidentialm aterialor Protected D ocum ents,including

    al1 associated images and native files,are extracted from such databases (including any
    associatedstagingdatabases)anddestroyed.CsDestroyed''shallmeandeletionofdocumentsfrom
    all databases, applications, and/or Gle system s in a m anner such that they are not readily
    accessible withoutthe useofspecialized toolsortechniquestypically used by a forensic expert.
                   Counselofrecord forthe paliesm ay retain copies ofany partofthe Confidential
    m aterialorProtected Docum ents produced by others that has becom e pal4 of counsel's official
    file of this litigation as wellas abstracts or sum m aries of m aterials thatreference Confidential
    m aterialor Protected D ocum ents that contain counsel's m ental im pressions or opinions. Such

    copiesshallremainsubjecttothetermsofthisOrder.
           (d)    The parties,counselofrecord fortheparties,and expertsorconsultantsfora
    party shall not be required to return or to destroy any Confidential m aterial or Protected

    Documentstotheextentsuchinformationis(i)storedonmediathatisgenerallyconsiderednot
    reasonablyaccessible,suchasdisasterrecoverybackuptapes,or(ii)onlyretrievablethroughthe
    use of specialized tools or techniques typically used by a forensic expert;provided that to the
    extentany Confidentialm aterialorProtected D ocum entsare notreturned ordestroyed due to the

    foregoingreasons,suchConfidentialmaterialorProtectedDocumentsshallremainsubjecttothe
    confidentiality obligations ofthisProtective Order.


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           The confidentiality obligations imposed by this agreem entshallrem ain in effect untila
    designating party agreesotherwise in writing ora courtordersothem ise.
           COM PU TATION OF TIM E
           The com putation ofany period oftim e prescribed orallowed by this Ordershallbe governed
    by the provisionsforcom puting tim e setforth in FederalRule ofCivilProcedure 6.
     12.   EFFECT OF STIPULA TION
           Once a11parties have agreed to this Stipulation,they shalltreat itas binding. H owever,
    notw ithstanding the parties' agreem ent to this Stipulation, pursuant to 45 C.F.R .

     164.512(e)(1)(v),the partiesare underno obligation to produce protected health information
    underH IPAA untilthe Courtapprovesand entersthis Order.
                   IT IS SO STIPU LATED ,TH ROU GH COUN SEL OF RECORD .


    DA TED :M av 24,2018                              N oah E.Storch
                                                      N oah E.Storch
                                                      FloridaBarN o.:0085476
                                                      noah@Goridaovedimelav er.com
                                                      R ICH ARD CELLER LEGA L,P.A .
                                                      7450 Griffin Road,Suite230
                                                      D avie,FL 33314
                                                      M ain:         (866)344-9243
                                                      Facsimile:     (954)337-2771
                                                      A ttolmeys forPlaintiffs

    DA TED :M av 24,2018                              Aaron Reed
                                                      A aron Reed
                                                      Florida BarN o.0557157
                                                       areed@littler.com
                                                       LITTLER M EN DELSON ,P.C.
                                                       W ellsFargo Center
                                                       333 SE 2nd A venue
                                                       Sttite2700
                                                      M lam i,FL 33131
                                                       Telephgne: 305.400.7500
                                                       Facslm lle:   305.603.2552
Case 2:17-cv-14281-JEM Document 60 Entered on FLSD Docket 05/29/2018 Page 14 of 15




                                                       D ouzlas E..Sm ith            '
                                                       D ouglasE.Sm ith
                                                       Pro H ac Vice
                                                       desmith@ littlencont
                                                     ' Breanne sle'etzM artell
                                                       Breanne Sheetz M artell
                                                       Pro Hac Vice
                                                       bsmartell@ littler.com
                                                       LITTLER M ENDELSON ,P.C.
                                                       One Union Square
                                                       600 Univerîity Street,Suite 3200
                                                       Seattle,W A 98101.3122
                                                       Teleghone: 206.623.3300
                                                       Facslm ile:     206.447.6965
                                                       AttorneysforDefendants
                                                       CEN TEN E.M ANA GEM EN T COO A NY ,
                                                       LTC andSUNSHJNE STATE HEALTH
                                                       PLAN ,IN C.


           PURSUANT TO STP ULATION ,IT IS SO ORDERED
           IT JS,FURTHER ORDERED thatpursuantto FederalRule ofEvidence 502(d),the
    prodtlction ofgpy docum epts in this proceeding shallnot, forthe purposes ofthisproceeding or
    any .other procçeding in any other court, constitute a waiver by the producing party of any
    privil:aç appliçible to those docum entssincludinc the attom ey-clientprivileae. attorney w ork-
    productprotection,orany otherprivilege orprotqction recognized by law .
           DONE ANII ORDERKD in Chambers at Fort Pierce, Florida, this
       >%
    q, DL.-% .day. .o f May , 2018.
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Case 2:17-cv-14281-JEM Document 60 Entered on FLSD Docket 05/29/2018 Page 15 of 15




                                              EX HIBIT A
                     A CKN OW LED GM ENT AN D A GREEM EN T TO BE BO UN D
                                                              gprint       type full name), of
                                                gprintortypefulladdressq,declareunderpenaltyof
    perjury thatlhaveread in itsentirety and understandtheStipulated ProtectiveOrderthatwas
     issued by theUnited StatesDistrictCourtforthe Southern DistrictofFloridaon gdateqinthe
    case ofJody G udger and Rhonda K ing v.Centene M anagem ent Company,LLC and Sunshine
    State H ealth Plan,Inc.,CivilAction N o.2:17-cv-l4281-JEM     1agree to com ply w ith and to be
    bound by all the term s of this Stipulated Protective Order and Clawback A greem ent and
    understand and acknow ledge that failure to so comply could expose m e to sanctions and
    punishm ent in the nature of contempt.1solem nly prom ise that1w illnotdisclose in any m anner

    any information or item that is subject to this Stipulated Protective Order and Clawback
    A greem entto any person orentity exceptin strictcom pliance with the provisions ofthis Order.
            1furtheragree to submitto thejurisdiction oftheUnited StatesDistrictCourtforthe
    Southern D istrictof Florida forthe purpose ofenforcing the term s of this Stipulated Protective
    Order and Claw back A greem ent,even if such enforcem entproceedings occur after term ination
    ofthisaction.
    Date:
    City and Statew here sw orn and signed'
                                          .
    Printed nam e:
     Signature'
              .




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